                     IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

  MICHAEL LEAL
                                                    Case No.: 1:22-cv-00150-MRB-KLL
                          Plaintiff,
                v.                                  Judge Michael R. Barrett
  FELICIA BEDEL, et al.
                                                    Magistrate Judge Karen L. Litkovitz
                     Defendants.


      STIPULATION OF DISMISSAL OF CLAIMS AGAINST DEFENDANT SAMANTHA ADAMO


       Under Fed. R. Civ. P. 41(a)(1)(A), Plaintiff stipulates to dismissal with prejudice of all

claims against Defendant Samantha Adamo, with costs to be taxed to Plaintiff. The parties have

reached a settlement, attached as Ex. A. Defendant Samantha Adamo stipulates to dismissal on

these terms and to the denial of any pending motions as moot.

Respectfully submitted,

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